Case: 1:18-cv-05492 Document #: 120 Filed: 04/03/20 Page 1 of 1 PageID #:1124

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Wacker Drive Executive Suites, LLC
                                                Plaintiff,
v.                                                            Case No.: 1:18−cv−05492
                                                              Honorable Sunil R. Harjani
Jones Lang LaSalle Americas (Illinois), LP
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 3, 2020:


        MINUTE entry before the Honorable Sunil R. Harjani: Status hearing previously
set for 4/23/2020 is stricken and reset to 5/20/2020 at 09:15 AM.Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
